             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                        6:24-cr-03100-MDH-01
              V.                                No.

KAYELLEN FAYE INSKIP,

                     Defendant.


                                  PLEA AGREEMENT

       Pursuant to Rule ll(c)(l)(B) of the Federal Rules of Criminal Procedure, the

parties described below have entered into the following plea agreement:

1.     The Parties. The parties to this agreement are the United States Attorney's Office

for the Western District of Missouri (otherwise referred to as "the Government" or "the

United States"), represented by Teresa A. Moore, United States Attorney, and Patrick

Camey, Assistant United States Attorney, and the defendant, KAYELLEN FAYE INSKIP

("the defendant"), represented by Russell Dempsey.

      The defendant understands and agrees that this plea agreement is only between her

and the United States Attorney for the Western District of Missouri, and that it does not

bind any other federal, state, or local prosecution authority or any other government

agency, unless otherwise specified in this agreement.

2.     Defendant's Guilty Plea. The defendant agrees to and hereby does plead guilty

to Count One of the information charging her with a violation of 18 U.S.C. § 1029(a)(5),



        Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 1 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 2 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 3 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 4 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 5 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 6 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 7 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 8 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 9 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 10 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 11 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 12 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 13 of 14
Case 6:24-cr-03100-MDH Document 9 Filed 10/10/24 Page 14 of 14
